Case 2:08-cv-01021-PSG-RC Document 9-32 Filed 02/19/08 Pagelof4 Page ID #:135

EXHIBIT EE
Case |?:08-cv-01021-PSG-RC Document 9-32 Filed 02/19/08 Page 2of4 Page ID #:136

1 || Geraldine A. Wyle, State Bar No. 089735
Jeryll S. Cohen, State Bar No. 125392

2 || Jeffrey D. Wexler, State Bar No. 132256 PERIOR COURT
Vivian L. Thoreen, State Bar No. 224162 LOS ANGELES su

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Telephone No.: 213.892.4992 Qrhundock—.

5 |] Fax No.: 213.892.7731 BY ANDREA MURDOCK, DEPUTY

6 || Attorneys for James P. Spears,
Temporary Conservator of the Person and
7 |; Temporary Co-Conservator of the Estate

8
SUPERIOR COURT OF THE STATE OF CALIFORNIA
9
FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT
10
11
In re the Conservatorship of the Person of Case No. BP 108870

12

13 || BRITNEY JEAN SPEARS, SUPPLEMENTAL DECLARATION OF
JAMES P. SPEARS IN SUPPORT OF

14 PETITION FOR APPOINTMENT OF

Proposed Conservatee. TEMPORARY CONSERVATOR

15

16 Date: February 4, 2008
Time: 1:30 p.m.

17 Dept.: 9
Judge: Hon. Reva Goetz, Judge Pro Tem

18

19

20 I, James P. Spears, declare as follows:

21 1. I am the father of Britney Jean Spears. I was appointed the Temporary Conservator

22 || of Britney’s Person and Temporary Co-Conservator of Britney’s Estate on February 1, 2008, and
23 || Temporary Letters of Conservatorship were issued the same day. I have been the duly acting and
24 || appointed Temporary Conservator of her Person and Temporary Co-Conservator of her Estate

25 || since that date. The statements contained in this declaration are based on my own knowledge. If
26 || called as a witness, I could and would testify competently to such statements.

27 2. On Saturday, February 2, 2008, I spent approximately 8 hours at UCLA, where

28 || Britney is hospitalized, meeting with Britney’s trgating physician and visiting with Britney,

SUPPLEMENTAL DECLARATION OF JAMES P. SPEARS IN SUPPORT OF PETITION FOR
APPOINTMENT OF TEMPORARY CONSERVATOR

Case

P:08-cv-01021-PSG-RC Document 9-32 Filed 02/19/08 Page 3of4 Page ID #:137

together with Britney’s mother, Lynne Spears.

3. On Sunday, February 3, 2008, I was unable to visit the hospital during the day
because I had to work; I am a cook, and I was catering a large Super Bowl party.

4. While I was working, Britney called me on my cell phone at least four (4) times.
She called me about every twenty (20) minutes.

5. Britney first called me at approximately 1:30 p.m. She said, “Daddy, what are you
doing?” I told her that I was cooking. Britney said, “What are you doing cooking, Daddy, why
are you not here with me?” I told her, “Baby, Daddy’s got to work.” She asked me, “How long
are you working?” I told her for a few hours. I then told her, “Daddy has to get back to work.”

6. About twenty minutes later, Britney called me again. She said, “How long are you
going to be, Daddy?” I told her that I didn’t know. She said, “Hurry up and get here.” I asked her
why. She said, “Because you got to get me out of here.” I told her that I could not get her out of
there. She said, “I want you to.” I asked her whether she wanted me to bring her anything, and
she said, “Yes, bring me some ice cream.” I asked her what flavor. She said, “Vanilla.”

7. She called me a third time, about twenty minutes after the second call. She asked
me again, “When are you going to be here, Daddy?” I told her I was working, but that I would be
there as soon as I could.

8. At approximately 2:30 p.m. Lynne called me from the hospital and told me that
Britney wanted to talk to me. Lynne put Britney on the phone. Britney asked again when I was
going to get to the hospital to see her.

9. J told her I would be there as soon as I got cleaned up, after everyone began eating,
and after I could make sure that my staff would be able to clean everything up. I told her that I
would be at the hospital before 5:00 p.m. She said, “Hurry up, Daddy.”

10. When J arrived at the hospital, Britney was lying down. I leaned over to kiss her.
She turned her head away from me. I said to her, “I love you.” Britney said, “No, you don’t.”

11. Britney then got up and said to me, “The doctor told me that you are keeping me in
here.” I said, “No, I’m not keeping you in here.” Britney said, “Someone’s lying. You put me

. 99
in here. 2

SUPPLEMENTAL DECLARATION OF JAMES P. SPEARS IN SUPPORT OF PETITION FOR
APPOINTMENT OF TEMPORARY CONSERVATOR

Case

P:08-cv-01021-PSG-RC Document 9-32 Filed 02/19/08 Page 4of4 Page ID #:138

12. One of the hospital nurses brought Britney the Doctor’s orders so Britney could see
them. Britney wouldn’t look at them. The nurse said to Britney, “Ms. Spears, your daddy did not
put you in here. Your daddy is not keeping you in here. The hospital is keeping you in here.”

13. Britney then said to me, “Come on, Daddy. Let’s get out of here. Talk my hand
and let’s walk out of here together.” I then said to her, “I wish I could, but I can’t.”

14. Britney was getting agitated.

15, We then started to talk about Britney’s children. I said to her, “Do you want me to
help you get your babies back?” J asked her if she wanted me to help her with her kids.

16. Britney told me that she had fired her lawyers and that she has new lawyers.

17. I told her that she doesn’t have new lawyers with the kids. She told me, “No, I
have new lawyers that will help me with my stuff.”

18. I told her that she has two sets of lawyers. Britney said, “No. I have fired those
lawyers.” I told her that she had a new lawyer in the conservatorship, but not the child stuff. |
asked her if she wanted me to help her with her children, that I would help her.

19. Britney then told me that there was some property of hers that Sam Lutfi had
wrongfully taken. She asked me to help her get it back. I told her that I would.

I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct. Executed on February 4, 2008 at Los Angeles, California.

anes P diese

James P. Spears

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SUPPLEMENTAL DECLARATION OF JAMES P. SPEARS IN SUPPORT OF PETITION FOR
APPOINTMENT OF TEMPORARY CONSERVATOR

